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                                                            4    Entered on Docket
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                                                                January 28, 2022
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                                                            6    ARIEL E. STERN, ESQ.
                                                                 Nevada Bar No. 8276
                                                            7    NATALIE L. WINSLOW, ESQ.
                                                                 Nevada Bar No. 12125
                                                            8    NICHOLAS E. BELAY, ESQ.
                                                                 Nevada Bar No. 15175
                                                            9    AKERMAN LLP
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AKERMAN LLP




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                                                                 Attorneys for NewRez LLC dba Shellpoint
                                                            14   Mortgage Servicing
                                                            15                            UNITED STATES BANKRUPTCY COURT
                                                            16                                      DISTRICT OF NEVADA
                                                            17   In re:                                            Case No.: 09-29123-mkn
                                                                                                                   Chapter 11
                                                            18   MELANI         SCHULTE      and     WILLIAM
                                                                 SCHULTE,                                          ORDER FOR           SUBSTITUTION   OF
                                                            19                                                     COUNSEL
                                                            20   2704 SATTLEY LLC;
                                                                                                                   Jointly Administered with:
                                                                 HOT ENDEAVOR LLC;
                                                            21   1341 MINUET LLC;
                                                                                                                   09-27238-MKN
                                                                 1708 PLATO PICO LLC;
                                                            22                                                     09-27909-MKN
                                                                 2228 WARM WALNUT LLC;
                                                                                                                   09-27910-MKN
                                                            23   9425 VALLEY HILLS LLC;
                                                                                                                   09-27911-MKN
                                                                 9500 ASPEN GLOW LLC;
                                                                                                                   09-27912-MKN
                                                            24   5218 MISTY MORNING LLC;
                                                                                                                   09-27913-MKN
                                                                 CHERISH LLC;
                                                            25                                                     09-27914-MKN
                                                                 SABRECO INC., and
                                                                                                                   09-27916-MKN
                                                                 KEEP SAFE LLC.
                                                            26                                                     09-28513-MKN
                                                                                                                   09-31584-MKN
                                                            27                                                     09-31585-MKN
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                                                            1             IT IS HEREBY ORDERED that Ariel, E Stern, Esq., Natalie L. Winslow Esq., and Nicholas

                                                            2    E. Belay, Esq., of the law firm AKERMAN LLP, are substituted as counsel of record for NewRez LLC

                                                            3    dba Shellpoint Mortgage Servicing in the place and stead of ALDRIDGE PITE, LLP.

                                                            4             IT IS SO ORDERED.

                                                            5

                                                            6    Submitted by:

                                                            7    AKERMAN LLP

                                                            8    By: /s/ Natalie L. Winslow
                                                                 ARIEL E. STERN, ESQ.
                                                            9    Nevada Bar No. 8276
                                                                 NATALIE L. WINSLOW, ESQ.
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                                                                 Attorneys for NewRez LLC dba Shellpoint Mortgage Servicing
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